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                           The Honorable Maryellen Noreika
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           DELAWARE

             ILLINOIS

         NEW JERSEY

           NEW YORK                Re:    Christopher James Walker v. Humana Pharmacy, Inc.,
      PENNSYLVANIA                        Case No. 1:18-cv-01022-MN (D. Del.)
                TEXAS

    WASHINGTON D.C.
                          Dear Judge Noreika:

                                  Pursuant to Section 7(g)(iii) of the Stipulated Scheduling Order (Dkt. 13) and the
                          Court’s October 16, 2018 Order (Dkt. 15), defendant Humana Pharmacy, Inc. (“Humana
                          Pharmacy”) submits this letter regarding its dispute with plaintiff Christopher James
                          Walker (“Walker,” together with Humana Pharmacy, the “Parties”) over the terms of a
                          stipulated protective order. Enclosed as Exhibit A with this letter is a copy of Humana
                          Pharmacy’s proposed protective order (the “Proposed Order”). The Court scheduled a
                          telephonic hearing on this matter for October 29, 2018, at 10:00 a.m.

                                                               I.   BACKGROUND

                                  On October 9, 2018, counsel for Humana Pharmacy sent counsel for Walker a draft
                          proposed protective order addressing the treatment of confidential, proprietary, trade
                          secret, and/or commercially sensitive information. Counsel for Walker provided a
                          revised version in response with several proposed changes. After a meet and confer and
                          subsequent discussions, the Parties reached agreement on all but one provision of the
                          Proposed Order. Specifically, the Parties are at an impasse regarding Section 5(d)(3),
                          which reads as follows:

                                   Counsel for Plaintiff is expressly prohibited from personally contacting,
                                   or having someone else contact, by telephone, email, in-person, facsimile,
                                   written correspondence, or in any other manner, any putative class
                                   member without the prior express written consent of Counsel for
                                   Defendant or if expressly authorized by Court Order.
       Established 1849




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            As explained in more detail below, Humana Pharmacy contends that Section
    5(d)(3) is both common and appropriate in class actions generally and specifically in
    Telephone Consumer Protection Act (“TCPA”) class actions, 1 and respectfully requests
    that the Court enter the Proposed Order with the provision included. Walker contends
    this language should not be included in the Proposed Order.

                                           II.     DISCUSSION

            As is common in TCPA class actions, during discovery Walker likely will seek call
    logs and other Humana Pharmacy documents that include personal identifying information
    of putative class members. Many courts have recognized that such information is of limited
    if any relevance prior to certification and should be protected from disclosure prior to
    plaintiff’s counsel being appointed as counsel for the class. See, e.g., Ketch, Inc. v. Heubel
    Material Handling, Inc., No. 11-cv-12, 2011 U.S. Dist. LEXIS 111300 (W.D. Okla. Sept.
    28, 2011) (finding that information regarding the identity of recipients was “irrelevant,
    unnecessary, and unduly burdensome” prior to certification). Indeed, “[i]n order to avoid
    converting the class action mechanism into a tool to identify potential new clients, courts
    ordinarily will not permit the putative class counsel to obtain discovery of class members’
    identities at the precertification stage.” 2 MCLAUGHLIN ON CLASS ACTIONS § 11.1, at 11-
    4 (4th ed. 2007). Seeking to preemptively compromise and avoid an inevitable discovery
    dispute, Humana Pharmacy is prepared to provide such information to Walker’s counsel
    prior to certification, as long as the information is protected by the above-noted clause.
    Plaintiff has refused.

            Courts addressing the relevance of putative class members’ personal identifying
    information have taken varied approaches. Some have found that the information should
    be withheld completely. See, e.g., Ketch, Inc., 2011 U.S. Dist. LEXIS 111300; Gusman v.
    Comcast Corp., 298 F.R.D. 592, 597 (S.D. Cal. 2014) (finding that production of an
    outbound call list was not warranted because a less intrusive means of discovering
    information relevant to certification issues existed). Other courts have found that, while
    lists containing telephone numbers may be relevant, identification of class members would
    be premature and, accordingly, have ordered that any identifying information should be
    redacted until a class has been certified. See, e.g., Knutson v. Schwan’s Home Serv., No.
    12-cv-964, 2013 U.S. Dist. LEXIS 103094, at *4 (S.D. Cal. July 23, 2013) (“. . . [T]he



    1
      Counsel for Humana Pharmacy has routinely obtained entry of inclusion of similar prohibitions on contact
    between plaintiff’s counsel and putative class members prior to certification in TCPA class actions over
    objection from plaintiff’s counsel. See, e.g., Order, Carradine Chiropractic Center, Inc. v. Sunwing Airlines,
    Inc., et al., No. 14-cv-01583 (N.D. Ohio Nov. 19, 2014), ECF No. 27; and Order, Sandusky Wellness Center,
    LLC v. ASD Specialty Healthcare, Inc., et al., No. 13-cv-2085 (N.D. Ohio Aug. 19, 2014), ECF No. 62. Both
    Orders are enclosed as Exhibit B.



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    Court finds the list of numbers is relevant, the names associated with the numbers are not
    relevant at this time. Therefore, Schwan's is permitted to redact the names . . .”).

            Finally, many courts have instead opted for the resolution that Humana Pharmacy
    now proposes: ordering production of putative class members’ personal identifying
    information subject to certain limitations including a requirement that plaintiff’s counsel
    obtain approval from the defendant or the court prior to contacting putative class members
    precertification. See Webb v. Healthcare Revenue Recovery Group, LLC, No. 13-cv-737,
    2014 U.S. Dist. LEXIS 11091, at *10 (N.D. Cal. Jan. 29, 2014) (“. . . [C]ounsel for Webb
    is prohibited from using HRRG’s call list to contact putative class members without court
    approval.”); Mbazomo v. ETourandTravel, Inc., No. 16-cv-2229, 2017 U.S. Dist. LEXIS
    82411 (E.D. Cal. May 26, 2017) (granting defendant’s request to prohibit plaintiff from
    contacting prospective class members and ordering that the call lists may only be used for
    the instant action).

             Humana Pharmacy’s proposed language in Section 5(d)(3) strikes an appropriate
    balance between Walker’s interest in obtaining information that he would like to see but
    that many courts have recognized is not relevant at this stage, the putative class members’
    privacy interests, and Humana Pharmacy’s interest in ensuring that the putative class
    members’ personal identifying information is used only for proper purposes. This balance
    is in accord with other consumer class action cases wherein courts have been hesitant to
    order parties to produce personal information that could be used to solicit more plaintiffs.
    See Tiger v. Dynamic Sports Nutrition, LLC, No. 15-cv-1701, U.S. Dist. LEXIS 48451, at
    *13 (M.D. Fla. April 11, 2016) (denying the plaintiff’s request for information to identify
    potential class members citing “concern” that the plaintiff wanted the “information to
    solicit other people to join the suit as potential class representatives”); Hankinson v. RTG
    Furniture Corp., No. 15-cv-81139, 2016 U.S. Dist. LEXIS 40365, at *6 (S.D. Fla. Mar.
    28, 2016) (“Discovery of class members’ identities prior to class certification is not favored
    where plaintiffs’ attorneys may be seeking the information to solicit new clients rather than
    to establish the propriety of certification.”).

                                        III.   CONCLUSION

            Humana Pharmacy proposed including Section 5(d)(3) to preempt a dispute over
    Walker’s access to the personal identifying information of putative class members prior to
    certification. Even though Walker does not have a clear right to access such information
    precertification, he refuses to agree to a widely-used provision that would merely require
    him to obtain approval from the Court or Humana Pharmacy before contacting putative
    class members prior to certification. Accordingly, Humana Pharmacy respectfully requests
    that the Court overrule Walker’s objection to Section 5(d)(3) and enter the Proposed Order.




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                                             Respectfully submitted,



                                             Todd C. Schiltz (ID No. 3253)

    TCS/cec
    Enclosures
    cc: Christopher P. Simon (by CM/ECF)




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